      Case 6:17-cr-00007-DLC Document 150 Filed 07/10/17 Page 1 of 2


                                                                        FILED
                                                                          JUL 10 2017
                                                                       Clerk, U.S. District Court
                                                                          District Of Montana
                                                                                 Helena




                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF MONTANA

                                  HELENA DIVISION

 UNITED STATES OF AMERICA,                        CR 17-07-H-SEH

                              Plaintiff,          ORDER

          vs.

 JEFF ALLEN TRASK,
 CHASE RYAN STORLIE,
 HECTOR RICARDO GONZALEZ,
 and CHRISTIAN JESUS RUIZ,

                              Defendants.

      The United States has filed an unpposed motion "for an order unsealing the

superseding indictment and arrest warrant for defendant Chase Ryan Storlie." 1

The redacted Superseding Indictment is filed in the public record. 2




      1
          Doc. 143 at 1.
      2
          Doc. 88.
     Case 6:17-cr-00007-DLC Document 150 Filed 07/10/17 Page 2 of 2



      The United States' Unopposed Motion to Unseal Superseding Indictment

and Arrest Warrant3 is GRANTED in PART as follows:

      ORDERED:

      The Clerk of Court is directed to unseal the Arrest Warrant4 for Defendant

Chase Ryan Storlie.      ./).

      DATED this      f 0 day of July, 2017.

                                                ~£#~qi~
                                                United States District Judge




      3
          Doc. 143.
      4
          Doc. 99.

                                          -2-
